          Case 2:24-cv-00236-Z                  Document 54
                                                         40      Filed 03/11/25
                                                                       02/10/25        Page 1
                                                                                            3 of 2
                                                                                                 4         PageID 661
                                                                                                                  415
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     NorthernDistrict
                                                 __________   Districtofof__________
                                                                           Texas


                                                                  )
                                                                  )
                             Plaintiff
                                                                  )
                                v.                                )      Civil Action No.
                                                                  )
                                                                  )
                            Defendant
                                                                  )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
       Case 2:24-cv-00236-Z                       Document 54            Filed 03/11/25                 Page 2 of 2            PageID 662

AO 440 (Rev. Ofi/12) Summons in a Civil Action (Page 2)
Civil Action No. 2:24-cv-00236-Z


                                                                 PROOF OF SERVICE
                          (This section should not be ifled with the court unless required by Fed. R. Civ. .P 4 (1))

        This summons for (name of individual and title, if any) CBS Broadcasting Inc, was received by me on (dale) Mar 3, 2025,
 11:49 am.



                 I personally served the summons on the individual at (place)                                          on (date)
                                                 ; or

                 I left the summons at the individual’s residence or usual place of abode with (name)                                            , a

                 person of suitable age and discretion who resides there, on (date)                                           , and mailed a copy to
                 the individual’s last known address; or
                 I served the summons on (name of individual) Venita Moss, Authorized to Accept on Behai f of Secretary of State of
                 the State of Texas , who is designated by law to accept service of process on behalf of (name of organization) CBS
                 Broadcasting Inc, on (date) Thu, Mar 06 2025 at 3:07 pm at 1019 Brazos, Austin, TX 787Q1 ; or
                 I returned the summons unexecuted because;                                        ; or

                 Other:                                   ; or



        My fees arc S                  for travel and $               for sei-vices, for a total of S

        I declare under penalty of perjury that this information is time.



Date: 03/^2025



                                                                              f     )         ^         Server's signature
                                                                         JustinTtogers PSC-20023 Exp 06/30/2025
                                                                                                    Printed name and title



                                                                         16414 San Pedro Ave, Suite 900 San Antonio, TX 78232
                                                                                                          Server's addre.ss


Additional documents served:
Amended Complaint; Exhibits A - D; Check Ibr Statutory Fee to Texas Secretary of State in the amount of S55.00


BEFORE ME, a Notary Public, on this day personally appeared Justin Rogers, known to me to be the person whose
name is subscribed to the foregoing document and, being by me first duly sworn, declared that the statements therein
contained are within his or her personal knowledge and are true and correct.



SUBSCRI            ,ND SWORN TO ME ON
                                                        0 5(/7^

      fy Public, State ofTexas
                                                        NICOLE M.WADE
                                                   My Notary ID #129086987
                                       Of   At      Expires August 9,2028
